  Case 4:20-cr-40060-JPG Document 36 Filed 07/20/21 Page 1 of 1 Page ID #82
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS
        ☒ Benton            ☐ East St. Louis ☐ Contested               ☒ Uncontested

                             MINUTES OF DISPOSITION

                       JUDGE: J. Phil Gilbert, United States District Judge

 USA v. EVAN JAY CARRIER                            CRIMINAL CASE NO.: 20-cr-40060-JPG

 REPORTER: Amy Richardson                           DEPUTY: Tina Gray

 GOVT. COUNSEL: Casey E. A. Bloodworth              DEF. COUNSEL: Judith A. Kuenneke

 PROBATION OFFICER: Stacey Grinnell

 DATE: July 20, 2021                                TIME: 30 minutes


Court orders recommendation to be placed under separate seal and counsel will not have access
to same.

COURT’S RULINGS ON OBJECTIONS TO PRE-SENTENCE REPORT: N/A

OFFENSE LEVEL: 33                               CRIMINAL HISTORY CATEGORY: I

SENTENCE RANGE: 135-168 months                  FINE RANGE: $35,000 - $250,000

SUPERVISED RELEASE RANGE: 5 years - LIFE

SENTENCE:      To be imprisoned for a term of 120 months as to Count 1 of the Indictment.

SUPERVISED RELEASE: Upon release from imprisonment, Defendant shall be placed on
Supervised Release for a term of 8 years as to Count 1 of the Indictment.

Defendant waives reading of the terms and conditions of supervision. Waiver filed at doc 30.

The defendant appears to be indigent and does not have the ability to pay the additional $5,000
special assessment pursuant to 18 U.S.C. § 3014.

Defendant shall pay a FINE in the amount of $250.00 payable to the Clerk, United States District
Court, due immediately. ☒ INTEREST WAIVED                ☐ INTEREST IMPOSED

Defendant shall pay a SPECIAL ASSESSMENT of $100.00 payable to the Clerk, United States
District Court, due immediately. ☒ INTEREST WAIVED        ☐ INTEREST IMPOSED

Defendant advised of right to appeal within 14 days.

The defendant shall surrender for service of sentence at the institution designated by the Bureau
of Prisons as notified by the United States Marshal.



                                                1
